           Case 1:13-cr-00238-BLW Document 27 Filed 11/22/13 Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,
                                                Case No. 1:13-CR-238-BLW
               Plaintiff,

      v.                                        ORDER


ANGEL ORTIZ et al.,

               Defendants.




      The Court has before it a motion to continue trial filed by defendant Jaimes-

Oliveros. The defendant requests additional time so that his counsel will have

adequate time to prepare for trial. The Court finds that a continuance until April

14, 2014, would be reasonable given the complexities of this case.

      Under all these circumstances, the Court finds that a continuance is needed

to give defense counsel an opportunity to provide an effective defense. Thus, a

continuance is warranted under 18 U.S.C. §3161(h)(7)(B)(iv) which authorizes a

finding of excludable time when the refusal to grant a continuance would “deny

counsel for the defendant ... the reasonable time necessary for effective preparation

....” Under these circumstances, the interests of justice in allowing the defense
Memorandum Decision & Order - 1
         Case 1:13-cr-00238-BLW Document 27 Filed 11/22/13 Page 2 of 3




time for effective preparation outweighs the Defendant’s and the public’s interest

in a speedy trial under 18 U.S.C. §3161(h)(7)(A).

       This new trial date applies to all defendants. Under the Speedy Trial Act, 18

U.S.C. § 3161(h)(6), excludable time exists for “a reasonable period of delay when

the defendant is joined for trial with a co-defendant as to whom the time for trial

has not run and no motion for severance has been granted.”

       The Court finds that the period of time between the filing of the motion and the

new trial date is excludable time under the Speedy Trial Act. Accordingly,

                NOW THEREFORE IT IS HEREBY ORDERED, that the Motion for

continuance (docket no. 26) filed by Defendant be, and the same is hereby, GRANTED,

and that the present trial date be VACATED, and that a new trial be set for April 14,

2014, at 1:30 p.m. in the Federal Courthouse in Boise, Idaho. This new trial date applies

to all defendants.

       IT IS FURTHER ORDERED, that the period of time between the filing of the

motion for continuance and the new trial date be deemed EXCLUDABLE TIME under

the Speedy Trial Act, 18 U.S.C. §3161(h)(7)(A).

       IT IS FURTHER ORDERED, that the pretrial conference shall be held on April 3,

2014, at 4:00 p.m. by telephone with the Government to initiate the call. The Court can

be reached at 208-334-9145. The defendant need not be on the line as only logistics will

be discussed.


Memorandum Decision & Order - 2
        Case 1:13-cr-00238-BLW Document 27 Filed 11/22/13 Page 3 of 3




      IT IS FURTHER ORDERED, that the Defendant shall file all pretrial motions on

or before February 21, 2014.

                                      DATED: November 22, 2013



                                      B. LYNN WINMILL
                                      Chief Judge
                                      United States District Court




Memorandum Decision & Order - 3
